Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 1 of 10




                                                                 CL$1.
Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 2 of 10
Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 3 of 10
Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 4 of 10
Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 5 of 10
Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 6 of 10
  Case 8:22-bk-00943-CPM   Doc 4   Filed 03/14/22   Page 7 of 10




T+FTTF%#FSLPXJU[                                     
            Case 8:22-bk-00943-CPM            Doc 4    Filed 03/14/22      Page 8 of 10




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

IN RE:
Michael Leslie Broadus                                 Case No.: 8:22-bk-00943-CPM
Jesse Lee Broadus                                      Chapter 13

Debtors
____________________/

                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the Chapter 13 Plan and any attachments
thereto have been furnished either electronically or by regular United States Mail this 14th day of
March 2022 to:

                                 United States Trustee - TPA7/13, 7
                                  Timberlake Annex, Suite 1200
                                         501 E Polk Street
                                         Tampa, FL 33602

                                            Jon Waage
                                          P O Box 25001
                                     Bradenton, FL 34206-5001

                                      Michael & Jesse Broadus
                                        5635 Kelly Drive N
                                     Saint Petersburg, FL 33703

                                      Updated Mailing Matrix
                                        (See attached list)

                                                                              /s/ Jesse D. Berkowitz
                                                                            Jesse D. Berkowitz, Esq.
                                                                                   Berkowitz & Myer
                                                                                    4900 Central Ave
                                                                            St. Petersburg, FL 33707
                                                                         bankruptcy@berkmyer.com
                                                                         Telephone: (727) 344-0123
                                                                                  Attorney for Debtor
                                                                                        FBN: 546151
                               Case 8:22-bk-00943-CPM       Doc 4          Filed 03/14/22   Page 9 of 10
Label Matrix for local noticing              United States Trustee - TPA7/13 7                Advante Education
113A-8                                       Timberlake Annex, Suite 1200                     KHESLC
Case 8:22-bk-00943-CPM                       501 E Polk Street                                PO Box 24328
Middle District of Florida                   Tampa, FL 33602-3949                             Louisville, KY 40224-0328
Tampa
Mon Mar 14 13:06:23 EDT 2022
American Education Services                  American Express                                 American Express
P.O. Box 61047                               POB 650448                                       POB 981535
Harrisburg, PA 17106-1047                    Dallas, TX 75265-0448                            El Paso, TX 79998-1535



Andreu, Palma, Lavin & Solis                 (p)BANK OF AMERICA                               Barclay’s
815 NW 57th Ave                              PO BOX 982238                                    POB 8803
Ste. 401                                     EL PASO TX 79998-2238                            Wilmington, DE 19899-8803
Miami, FL 33126-2363


Bay Area Credit Services                     Capital One                                      Capital One
POB 467600                                   POB 30285                                        POB 71083
Atlanta, GA 31146-7600                       Salt Lake City, UT 84130-0285                    Charlotte, NC 28272-1083



Capital One                                  (p)JPMORGAN CHASE BANK N A                       Chase
POB 71084                                    BANKRUPTCY MAIL INTAKE TEAM                      POB 6394
Charlotte, NC 28272-1084                     700 KANSAS LANE FLOOR 01                         Carol Stream, IL 60197-6394
                                             MONROE LA 71203-4774


Christine M. Ficker, Esq.                    Christopher Dunn, Esq.                           Chrysler Capital
POB 23200                                    1133 S. University Drive                         POB 660335
Louisville, KY 40223-0200                    2nd Floor                                        Dallas, TX 75266-0335
                                             Plantation, FL 33324-3303


Citcorp Credit                               Citibank                                         Citibank
Srvs/ BK Dept.                               POB 6062                                         POB 790040
POB 790034                                   Sioux Falls, SD 57117                            Saint Louis, MO 63179-0040
Saint Louis, MO 63179-0034


Citibank                                     Credit One Bank                                  Credit One Bank
POB 9001010                                  POB 98873                                        POB 98875
Louisville, KY 40290-1010                    Las Vegas, NV 89193-8873                         Las Vegas, NV 89193-8875



Debski & Assoc.                              Department of Revenue                            (p)DISCOVER FINANCIAL SERVICES LLC
POB 47718                                    PO Box 6668                                      PO BOX 3025
Jacksonville, FL 32247-7718                  Tallahassee, FL 32314-6668                       NEW ALBANY OH 43054-3025



Discover                                     First Premier                                    First Source Advantage
POB 71084                                    POB 5523                                         POB 628
Charlotte, NC 28272-1084                     Sioux Falls, SD 57117-5523                       Buffalo, NY 14240-0628
                               Case 8:22-bk-00943-CPM                Doc 4        Filed 03/14/22       Page 10 of 10
GC Services Limtd Prtnsp                              Genesis Card                                         Hayt, Hayt & Landau, P.L.
POB 1545                                              POB 4477                                             7765 SW 87th Avenue
Houston, TX 77251-1545                                Beaverton, OR 97076-4401                             Ste. 101
                                                                                                           Miami, FL 33173-2535


Home Depot                                            Infiniti Financial                                   Infiniti Financials
POB 9001010                                           POB 660577                                           POB 660577
Louisville, KY 40290-1010                             Dallas, TX 75266-0577                                Dallas, TX 75266-0577



Internal Revenue Service                              (p)M&T BANK                                          Patrick A. Carey, Esq.
P.O. Box 7346                                         LEGAL DOCUMENT PROCESSING                            10967 Lake Underhill Rd.
Philadelphia, PA 19101-7346                           626 COMMERCE DRIVE                                   Unit 125
                                                      AMHERST NY 14228-2307                                Orlando, FL 32825-4454


(p)PORTFOLIO RECOVERY ASSOCIATES LLC                  Synchrony Bank                                       Synchrony Bank
PO BOX 41067                                          BK Dept.                                             POB 960061
NORFOLK VA 23541-1067                                 POB 965061                                           Orlando, FL 32896-0061
                                                      Orlando, FL 32896-5061


Wells Fargo                                           Jesse D Berkowitz                                    Jesse Lee Broadus
Credit Dispute                                        Berkowitz and Myer                                   5635 Kelly Drive N
POB 14517                                             4900 Central Ave                                     Saint Petersburg, FL 33703-1223
Des Moines, IA 50306-3517                             St. Petersburg, FL 33707-1941


Jon Waage                                             Michael Leslie Broadus
P O Box 25001                                         5635 Kelly Drive N
Bradenton, FL 34206-5001                              Saint Petersburg, FL 33703-1223




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                       Chase                                                (d)Chase
POB 982235                                            POB 15153                                            POB 6294
El Paso, TX 79998                                     Wilmington, DE 19886                                 Carol Stream, IL 60197



Discover                                              (d)Discover Card                                     M&T Bank
POB 15316                                             POB 30943                                            POB 1288
Wilmington, DE 19850                                  Salt Lake City, UT 84130                             Buffalo, NY 14240



Portfolio Recovery                                    (d)Portfolio Recovery                                End of Label Matrix
120 Corporate Blvd                                    POB 12914                                            Mailable recipients      46
Ste. 1                                                Norfolk, VA 23541                                    Bypassed recipients       0
Norfolk, VA 23502                                                                                          Total                    46
